Case 1:15-cv-06119-A.]N-.]LC Document 251-2 Filed 02/24/17 Page 1 of 1
New York County Clvil Court

Land|ord and Tenant Judgment

Petitioner(s): index Number: LT-063974-14lNY
MAR|NERS COVE S|TE B ASSOC|ATES

A Petition and i-loldover Petition duly veriied and proof of

service having been filed with this court and the issue

having been decided before Honorable l\/laria l\/lilin Housing

Court Judge on August 10, 2015, a final order is made, after

GREER.DR- STEVEN hearing in favor of Peritioner; MAR|NERS covE s\TE B
ASSOC|ATES.

VS.

Respondent(s):

On l\/lotion of: ABRAMSON LAW GROUP; PLLC
570 LEX|NGTON AVENUE 23 FL, NEW YORK, NY 10022

lT lS ADJUDGED:
That possession of the premises, described in the petition located at 200 RECTOR PLACE 35F, NEW YORK. NY 10280.

said property is further described as; APARTMENT 35F, be awarded to the petitioner(s), along with a monetaryjudgmerrt in
the amount of $44,135.00 for a total judgment of $44,135.00, without costs.

 

Petitioner creditor(s) and address(es):
(1) MAR|NERS COVE SITE B ASSOC|ATES

 

Respondent debtor(s) and address(es):
(1) GREER,DR. STEVEN, at 200 RECTOR PLACE 35F, NEW YORKl NY 10280

 

IT lS FURTHER ORDERED:

That a warrant of eviction shall issue removing all named respondents from the described premises The Execution of the
Warrant is Stayed per Stipulation/Order.

Date of Decision: 08/10/2015 /M
/L4

Honorable l\/laria Milin
l-lousing Court Judge

Judgment entered at New York County Clvil Court, 111 Centre Street, New Yorl<, NY 10013, in the STATE OF NEVV YORK
in the total amount of $44,135.00 on 01/29/2016 at 09:57 AM.

Judgment sequence 1 M M

 

 

 

Carol Alt, Chlef Clerk
Warrant issued to lvlarshal _ on

Section 5020(c) of the Clvil Practice Law and Rules requires that a satisfaction be filed with the clerk when the judgment is
satisfied Failure to do so subjects the judgment creditor to penalties

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